                                                                                FILED
 1   MICHAEL W.DOTTS,ESQ., 190005

 2
     DOTTS LAW OFFICE
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     Attorneyfor Plaintiff
 4

 5                            IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF GUAM
 6

 7    CAPFA CAPITAL CORPORATION                              CIVIL CASE NO. 25-00020
 8                           Plaintiff,

 9            vs.
                                                             COMPLAINT AND DEMAND
                                                             FOR JURY TRIAL
10    DB INSURANCE COMPANY LIMITED

11                           Defendant.

12

13
            COMES NOW, CAPFA Capital Corporation ("CaPFA" or "Plaintiff") by and through
14
     undersigned counsel, hereby complains to this Honorable Court as follows:
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16

17                                                      I.
                                          JURISDICTION AND VENUE
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             1.     This Court has diversityjurisdiction pursuant to the provisions of28 U.S.C.§ 1332(a)(1)
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20   and 48 U.S.C.§ 1424(d). The Plaintiffis a corporation organized and has its principal place of business

21   in Florida, and the Defendant are corporations organized and has its principal place ofbusiness in either
22   Guam or Korea. The amount ofthe claim exceeds $75,000.00.
23
            2.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the events giving rise to
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     this cause of action occurred in Guam, a United States territory.
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 1                                                      11.
                                                   PARTIES
 2
             1.     PlaintiffCaPFA is a not-for-profit corporation registered in the state ofFlorida with 299
 3

 4    Riverside Drive, Moore Haven, FL 33471 as its registered address and has its principal place of

 5    business in Florida.

 6          2.      Upon information and belief. Defendant DB Insurance Company Limited ("DB
 7
      Insurance") is, and was at all times material to this Complaint, a foreign company that was organized
 8
      in Republic of Korea that has its principal place of business in Korea that is registered to do business
 9
      in Guam. Defendant insured the John F. Kermedy High School on Guam against certain losses
10

                                                       HI.
11
                                         FACTUAL BACKGROUND
12
            3.      CaPFA re-alleges and re-asserts all the allegations contained the above paragraphs.
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            4.      At all times material to this Complaint, CaPFA owned the buildings, real property, and
14

15
     appurtenant structures, including the fence, on Lot No.5139-R3NEW-R4 in Tamuning,Guam,known

16   as John F. Keimedy High School("the School").

17          5.      At all times material to this Complaint, CaPFA had a valid insurance policy on the
18
     School which CaPFA purchased from DB Insurance that had been in place since 2013.
19
            6.      The insurance policy covered structures, buildings, and personal property ofthe School,
20
     specifically described as policy no.: KMF7024-A03("the Policy").
21
            7.      The Policy insured CaPFA's described property and other structures against all risks of
22

23
     direct physical loss ofor damages from any external cause, including typhoons and hurricanes.

24          8.      Specifically, the Policy insured CaPFA against fire & lightning, typhoons, earthquakes
25   and sprinkler leakage.
26
            9.      The Policy was validly in force up until the previous billing cycle which began on March
27
     1, 2023,and ended on March 1, 2024. The renewal signature was appended on February 28,2023.
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                                                        2



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  1              10.    The total sum insured for the School's building under the Policy is $66,119,051.00.

 2               11.    The total sum insured for the School's building's contents under the Policy is
 3
        $3,092,079.00.
 4
                 12.    The total sum insured for the School's solar panels imder the Policy is $8,450,000.00.
 5
                 13.    CaPFA sought insurance against external damage to protect the School from risk of
 6
        natural disasters and unplanned occurrences.
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 g               14.    CaPFA paid all premiums as at when due for the entire duration of the Policy without

 9      defaulting.

                 15.    In May 2023, Typhoon Mawar struck Guam and caused significant damage to many

        properties and structures in Guam and neighbouring cities, including the School.
12
                 16.    Typhoon Mawar was significantly destructive,causing widespread emergency and even
13
        death.
14

                 17.    As soon as Typhoon Mawar subsided, CaPFA timely submitted a claim to Defendant

16 ("CaPFA JFK School Claim")in an email sent on June 2, 2023

                 18.    As a result of Typhoon Marwar,CaPFA suffered losses including but not limited to the
18
        following:
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                 a. Photovoltaic Power System - $1,666,473.93
20
                 b. Baseball, Football, Athletic Fields and Tennis Court - $760,906.45
21
                 c. Replace Damaged Exterior Doors on Cafeteria and Gym - $22,292.04
22

23               e. Replace Damaged Air Conditioning Duct on Cafeteria and Gym - $39,843.14

24               f. Replace Damaged Air Conditioning Unit No 2 and Duct - $206,331.44

25               g. Clean UP ofCampus and Disposal ofTyphoon Related Debris- 165,779.32
26
                 h. Repainting of Campus and Repair of Roof Coating - $470,592.14
27
                 i. Replace Damaged Gym Floor - $621,452.10.
28 "■




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 1             19.   All the above-mentioned losses have been timely communicated to Defendant in

 2   accordance with the Policy.
 3
               20.   CaPFA's total claim is $5,122,166.75. This amount is calculated less the Policy
 4
     deductible as required under the Policy.
 5
               21.   On May 30,2024,CaPFA received a check from Defendant in the sum of$1,000,000.00
 6
     in partial payment ofthe CaPFA JFK School Claim.
 7

 8             22.   On August 28, 2024, CaPFA received another check from Defendant in the sum of

 9   $500,000.00 in partial pajmient ofthe CaPFA JFK School Claim.
10             23.   Up until the time of filing this Complaint, CaPFA has received a total sum of
11
     $2,112,683.00 from Defendant.
12
               24.   This leaves an outstanding balance of$3,009,483.75.
13
               25.   Specifically, Defendant have withheld money due to CaPFA for the fencing repairs
14

     without any explanation.
15

16             26.   The insured value of the School includes a fence that was part of the original

17   construction.

18
               27.   Also, Defendant have withheld money due to CaPFA for the Gymnasium flooring
19
     replacement without any explanation.
20
               28.   Defendant have also refused to pay any portion of the outstanding balance of
21
     $3,009,483.75 on the CaPFA JFK School Claim.
22

23             29.   CaPFA has scheduled the floor replacement to take place in late November through

24   early 2025.

25             30.   All amounts due under the CaPFA JFK School Claim are well within the value ofthe
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     Policy.
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 1            31.   Acting in bad faith, Defendant have denied portions of the CaPFA JFK School Claim

 2 for insurance benefits as promised under the Policy by failing to respond to CaPFA's multiple requests.
 3
              32.   CaPFA has performed all on its part under the Policy.
 4
              33.   Until the time of filing this Complaint, Defendant have ignored communication from
 5
     CaPFA regarding the impaid sum ofthe CaPFA JFK School Claim.
 6
 ^            34.   On September 19, 2024, CaPFA sent Defendant a letter demanding full payment ofthe
 3 amount due under the CaPFA JFK School Claim which has been ignored ("Letter of Demand").

 9            35.   As agents of DB Insurance, Moylan's Insurance Underwriters, Inc., ("Moylan's")
10 received a copy ofthe Demand letter on September 20,2024, with copy to DB Insurance.
              36.   The Letter ofDemand contained modest estimates of CaPFA's damages suffered on the
12
     School's premises as a result of Typhoon Mawar.
13
              37.   The Letter ofDemand did not include the attorney fees, interest fees, late charges, court

2j costs, and all other damages that CaPFA suffered, and continues to suffer, as a result of the delay in
16   satisfying the CaPFA JFK School Claim.

12            38.   On March 28, 2025, Equitable Adjusting & Services Company ("Equitable" or
1O
     "EASCO") sent an email presenting a final settlement offer of $387,317.00 in full resolution of the
19
     claim.
20
              39.   On April 15,2025, CaPFA sent a Second Letter of Demand explaining the discrepancy
21
     on the demanded letters and offer its settlement proposal. Defendant were given until April 25,2025 to
22

23 accept CaPFA's proposal.

24            40.   On April 25,2025,Defendant responded to the April 15,2025 Second Letter ofDemand
25 but did not agree to pay anj^hing further and instead claimed to need more time and more information.
26
              41.   Defendant's actions in not addressing the claim and causing delay were in bad faith and
27
     caused harm to Plaintiff and are effectively a denial of PlaintifFs claim.
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 1          42.    Defendant's delayed responses and failure to pay on the claim was wilful and wanton

 2 and done in bad faith entitling Plaintiffto punitive damages.
 3
            43.    CaPFA has been damaged and continues to be damaged in amounts to be proven at trial.
 4
                                                     IV.
 5                                         CAUSES OF ACTION

 6 A.       FIRST CAUSE OF ACTION - BREACH OF CONTRACT
 7
            44.    CaPFA re-alleges and re-asserts all the allegations contained in the above paragraphs.
 8
            45.    CaPFA has paid all premiums due under the Policy and has done so consistently for over
 9
     11 years.
10

22          46.    CaPFA has no outstanding responsibilities imder the Policy.
12          47.    Before filing this suit, CaPFA has complied with all the condition precedents including

13   serving a Letter of Demand on the Defendant.
14
            48.    The Policy provides coverage for "all risks of direct physical loss of or damage to the
15
     property covered from any external cause including sprinkler leakage".
16
            49.    The School has suffered damages as a result of Typhoon Mawar.
17
            50.    Loss and damages suffered as a result of Typhoon Mawar is within the bounds of and
18

2g covered by the Policy.

20          51.    As a result, Defendant was obligated to pay for the CaPFA JFK School Claim.

21          52.    Defendant breached its contract with CaPFA by failing to pay the amoimts due under
     the Policy.
23
            53.    Defendant has denied CaPFA's claim for damages to the fence and the replacement of
24
     the floor ofthe Gymnasium.
25

2g          54.    Defendant has also failed to pay the outstanding balance of no less than $3,009,483.75
27 based on CaPFA's modest estimate.

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 1             55.    Defendant has breached its obligations under the Policy by failing and refusing to pay

 2 coverages on the losses suffered on the School premises as a result of Typhoon Mawar,
 3
              56.     As a direct and proximate cause of Defendant breach of the Policy, CaPFA has been
 4
       damaged by Defendant in an amount to be proven at trial
 5
              57.     As a result of the denial of the CaPFA's JFK School Claim and refusal to pay the
 6
       outstanding balance, CaPFA has been forced to retain the services of counsel, which should be
 7

 g     compensated by Defendant.

 9            58.     CaPFA is also incurring pre-judgement interest on monies due, late charges, and may

^ ® other expenses that should be compensated by Defendant.
^ ^ B.        SECOND CAUSE OF ACTION-BREACH OF THE DUTY OF GOOD FAITH AND
12            FAIR DEALING-BAD FAITH

13            59.     Plaintiffre-alleges and re-asserts all the allegations contained in the above paragraphs.

              60.     All contracts in Guam are subject to the duty ofgood faith and fair dealing and the same
15 "
       applies to the Policy in issue here.
16
              61.     This duty of good faith and fair dealing requires parties to a contract to act fairly in
17
       fulfilling their rights and responsibilities under that contract. This duty is a cornerstone in the
18

       application of Guam statues to contracts and corresponding case law.

20            62.     CaPFA and Defendant are parties to the Policy which is a valid, written contract.

              63.     Defendant owed CaPFA a duty of good faith and fair dealing in the performance and
22
       execution ofthe Policy.
23                       .
              64.     This duty mandated that Defendant avoid self-dealing and honor their obligations under
24
       the Policy in satisfying the CaPFA JFK School Claim.
25
              65.     CaPFA had a right to receive the benefit ofthe premiums paid on the Policy for over a

22 decade.

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 1          66.     Defendant, by its lack of response to CaPFA's claim and the denial to extend coverage

 2 to the fencing and flooring and other claims made, was acting in bad faith.
 3
            67.     Defendant has breached the implied covenant of good faith and fair dealing by denying
 4
     CaPFA's claim and refusing to pay the outstanding sum when due.
 5
            68.     Defendant has breached the implied covenant of good faith and fair dealing by
 6
     consistently ignoring CaPFA's requests for what is due under the Policy.
 7

 3          69.     CaPFA alleges on information and belief that, at all relevant times herein material,

 9 Defendant knew, or in the exercise of good faith, reasonably should have known, that CaPFA was

^ ® legally entitled to recover under the aforementioned insmance Policy and that Defendant was obligated
     to provide CaPFA the benefits under the Policy.
12
            70.     CaPFA further alleges on information and belief that Defendant, despite knowing that
13
     the benefits were due, nevertheless maliciously, intentionally, and oppressively conducted itself

2^ willfully and wrongfully and refused, and failed, to pay the benefits due under the Policy to CaPFA.
16          71.     Plaintiff alleges on information and belief that Defendant unreasonably failed to pay
17   Plaintiffs claim.

18
            72.     As a direct and proximate cause of Defendant's actions, CaPFA has been damaged in
19
     the amounts to be determined at trial.
20
            73.     As a result of Defendant's actions in bad faith, CaPFA has been forced to retain the
21
     services of counsel, which should be compensated by Defendant.
22

23          74.     CaPFA is also incurring pre-judgement interest on monies due, late charges, and may
24 other expenses that should be compensated by Defendant.

            75.     Plaintiff is entitled to an award of punitive damages for the bad faith of the Defendant
26
     in an amoimt to be proven at trial.
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  1     C.        THIRD CAUSE OF ACTION -DECLARATORY JUDGMENT

 2                76.    CaPFA re-alleges and re-asserts all allegations contained in the above paragraphs.
 3
                  77.    CaPFA alleges on information and beliefthat an actual controversy has arisen and now
 4
        exists between CaPFA and Defendant concerning their respective rights and duties in that CaPFA
 5
        claims that Defendant improperly denied its claims in breach ofthe Policy and in breach ofthe covenant
 6
        of good faith and fair dealing while Defendant appears to claim that the denial was appropriate,
 7

 g                78.   CaPFA desires ajudicial determination ofthe rights and duties ofthe respective parties,

 9 and a declaration that the denial of Plaintiff's claim was improper pursuant to the terms of the Policy

        and that the aforesaid denial of Plaintiffs claims by Defendant was in violation of the covenant and
11
        good faith and fair dealing.
12
                  79.   CaPFA alleges on information and belief that a judicial determination is necessary and
13
        appropriate at this time imder the circumstances in order that the Plaintiff may ascertain its rights and
14

j^ duties with respect to this coverage under the Policy and the impropriety of its claims as set forth in
16      herein.

17
                                                           V.
18
                                               PRAYER FOR RELIEF
19
                  WHEREFORE,Plaintiff prays for relief as follows:
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                  a.    For actual, compensatory, and consequential damages in an amount to be proven at trial
21
                        but not less than $3,009,483.75;
22

23                      For punitive damages for the actions taken by Defendant in bad faith in a multiple ofthe
24                      actual, compensatory, and consequential damages;

                  c.    For a declaratory judgment declaring that the denial of CaPFA's claim was improper
26
                        and in breach ofthe terms ofthe Policy and the implied covenant of good faith and fair
27
                        dealing;
28 ■■




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 1   d.     For CaPFA's attorney's fees and costs of suit;

 2   e.     For CaPFA's prejudgment and postjudgment interest as allowed by law;
 3
     f.     For other such relief to be granted to Plaintiff as the Court deemsjust and proper.
 4

                                                VI.
 5
                                 DEMAND FOR JURY TRIAL
6
     Plaintiff demands a trial by jury on all issues and claims so triable.
 7

 8
     Respectfully submitted this 28th day of April 2025.
9


^^                                            LAW OFFICE OF MICHAEL W.DOTTS,LLC
11                                            Attorneysfor Plaintiff

12
                                              /s/ Michael W. Potts
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                                              Michael W.Dotts, Esq., Bar No. 190005
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